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                           FOR THE DISTRICT OF NEW MEXICO
                                                                          JUN - 2 zrizz

                                                                  MITCHELL R. ELFERS
 RUBEN ESCANO,                                                        CLERK OF COURT

                                                                        LZ<.v -1zl -&I\y
         Plaintiff,
                                                      civir caseNo.:

                                                      JURY TRIAL DEMANDED
 JOHN DOE,

         Defendant.



                                           COMPLAINT

         COMES NOW, Plaintiff Ruben Escano, undersigned, and for his causes of action against

the Defendant states and alleges as follows:

                                         Nature of the Case

         1.     This civil action is brought forth in accordance with the common law theory of

trespass to chattels to recover damages for an incessant blitz of hundreds of unsolicited

telemarketing calls and text messages that Defendant John Doe has triggered to Plaintiff s cell

phone, and which continue to this day.

         2.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff s own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by Plaintiff.


                                            The Parties

         3.     Plaintiff RUBEN ESCANO is an individual person and resident of Silver City, New

Mexico, with a mailing address of 2311 Ranch Club Road, #2-180, Silver City, New Mexico

88061.
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          4.    Defendant JOHN DOE (hereinafter "Defendant") is an individual person whose

true identity is not yet known to Plaintiff but who is responsible for the causes of action alleged

herein.

          5.    Plaintiff intends to serve Rule 45 subpoenas to uncover the identity of Defendant.


                                           Jury Demand

          6.    A trial by jury on all claims is hereby demanded.


                                            Jurisdiction

          7.    Plaintiff is a citizen of New Mexico and was in New Mexico at the time a

preponderance of the communications described herein were received.

          8.    Defendant is a citizen of a State other than New Mexico.

          9.    Pursuant to 28 U.S. Code $ 1332(a)(I),jurisdiction is proper because the amount

in controversy exceeds $75,000, exclusive of interest and costs, and because there exists complete

diversity of citizenship.

          10.   Pursuant to 28 U.S. Code $ 1391(b)(2), venue is proper because Defendant relied

on and availed himself of the telecommunications infrastructure of New Mexico wher-r triggering

the communications described herein.

          11,   Pursuant to 28 U.S. Code $ 1391(bX2), venue is proper because the chattel in

question is located within this district and was located within this district during a preponderance

of the causes of action alleged herein.

          12.   Pursuant to 28 U.S. Code $ l39l(b)(2), venue is proper because Defendant knew

or should have known that his actions alleged herein would result in the transmission of calls and

texts messages which would reach Plaintiff in New Mexico.



COMPLAINT                                                                                Page 2 of 6
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                                         Causes of Action

                                           Introduction

        13.    Beginning on or around January 4, 2019 and continuing to about this day,

Defendant has entered Plaintifls phone number on dozens of websites to purposely trigger

nuisance phone calls and text messages to Plaintiff s cell phone.

        14.    The websites include those of various vehicle service plan ("VSP") providers.

VSPs are sometimes called "extended vehicle warranties." Other websites at issue here also

include those belonging to lead generators. These lead generators automatically and seamlessly

forward leads to VSP providers who then call a telephone subscriber who the VSP provider

believes has requested a call.

        15.    Some of the phone calls Plaintiff has received immediately connect with a live

representative calling from a VSP provider.

        16.    When Plaintiff inquires as to why he has been called, the phone representatives

inform Plaintiff that someone entered Plaintiff s phone number on their respective company's

online lead form. Thus, the phone representatives are under the impression that Plaintiff requested

a phone call regarding VSPs.


        L7.    And yet other phone calls do not connect to any live representative but rather

transmit only dead air.

                                         Concrete Injury

       18.     Defendant's communications to Plaintiff caused him concrete injuries in fact.

       19.     Defendant's communications caused a partial depletion of the charge of Plaintiff s cell

phone's battery, apartial depletion of the lifespan of the LED backlight of the phone's display, and

unwarranted wear and tear for at least both of those components.



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         20.      Defendant's communications to Plaintiff, aggravated him, disrupted his days,

 deprived him of the use and enjoyment of his cell phone, and required him to divert
                                                                                         attention away

 from his work and personal life to tend to and answer such unwarranted intrusions
                                                                                         of his time.

         2L       Accordingly, Defendant's communications to Plaintiff were repeated invasions of

 his privacy.


                       Trespass to Chattels in Telemarketing Jurisprudence

        22.      This Court has previously found that unsolicited calls, like the kinds alleged here,

 constitute a trespass to chattel. See Mohon v. Nat'l Congress of Employers Inc.,
                                                                                       l9-cv-652,2020
 wL 1332376,at* 13 (D.N.M. Mar. 23,2020); Mestas v. cHW Grp.,50gF. Supp. 3d 1011, 1031-
32 (D.N.M. Dec. 16,2020).


                                         Exemplar phone Call

        23.      On or around March 1I,2021, Defendant queried an online search engine to find

online lead forms with which to harass plaintiff.

        24.      One lead form Defendant found was that maintained by a lead generation company

called "Consumer Affairs. "

        25.      Defendant entered Plaintiffs narne, phone number, and other personally

identifiable information into consumer Affairs, online lead form.

        26.      Defendant did so with the intent to trigger a telemarketing call to plaintiff.

        27   '   Defendant's entry of PlaintifPs phone number did indeed trigger a telemarketing

call to Plaintiff. Specifically, Consumer Affairs forwarded the lead generated
                                                                                   from its online lead

form to a VSP provider called "Protect My Car," who then called Plaintiff under
                                                                                        the impression

Plaintiff had requested a call.



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        28.        Defendant continued this action on various websites, and continues to
                                                                                              do so to
 about this day.

        29.        Defendant obtained Plaintiffs personally identifiable information from
                                                                                                     data

brokers, departments of motor vehicles, or other sources.


                                                 COUNT I
                                           Trespass to Chattel

        30.        All preceding paragraphs are hereby incorporated by reference.

        31.        Defendant's calls and text messages to Plaintiff substantially interfered with,
                                                                                                     and

disturbed, the use and enjoyment of his cell phone.

        32.        Defendant knew, or should have known, that such calls and text messages to

Plaintiff s phone, would result in such interference and disturbance to the use of such personal

property.

        33.    Defendant's actions were the proximate cause of such trespass.


                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

                      A. damages of $1,000,000 in accordance with the common law theory of
                         trespass to chattels;

                      B. for punitive damages;
                     C. for an injunction ordering Defendant to cease entering Plaintiffs phone

                         number onto online lead forms;

                     D. for Plaintiff s reasonable and necessary attomey's fees and costs;

                     E. for pre and post-judgment interest;



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                 F. and for all other relief to which Plaintiff is justly entitled under New Mexico
                    or Federal law.


      Dated this lst day of June,2022.

                                                    Respectfully submitted,



                                           By:        (
                                                   Ruben Escanorpro se
                                                   2311 Ranch Club Road
                                                   Suite #2-180
                                                   Silver City, NM 89061
                                                   (20t) s27-8938




COMPLAINT
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